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A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1

                                                                                                                   EASTERN DISTRICT ARKANSAS

                                       UNITED STATES DISTRICT COURT                                                     MAR - 9 2015
                                                    EASTERN DISTRICT OF ARKANSA                            JAMES W                             K
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Cas~y: _ _tT"t-::ftt:..._-\--~~~
                              v.                                         (For Revocation of Probation or Supervised Release)
               SHARON ALEXANDER

                                                                         Case No. 4:04cr249-01 JM
                                                                         USM No. 23757-009
                                                                          Lisa Peters
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            Special, General, Standard     of the term of supervision.
D was found in violation of condition(s)               - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                 Yiolation Ended
General (1)                        Violation of federal, state, or local crime                               09/19/2014
Standard (11)                      Failure to notify probation officer of arrest                             07/31/2014
Special (3)                        Failure to participate in mental health counseling                        09/19/2014
Special                            Failure to pay restitution                                                08/01/2014
       The defendant is sentenced as provided in pages 2 through __, ___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and Unifed States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1035

Defendant's Year of Birth:            1975

City and State of Defendant's Residence:
Little Rock, Arkansas
                                                                          JAMES M. MOODY JR.                          U.S. District Judge

                                                                                   .$I'} lJ;:me •ndTitle       of JOOg<
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AO 245D   (Rev. 09/11) Judgment in a Criminal Case for Revocations
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DEFENDANT: SHARON ALEXANDER
CASE NUMBER: 4:04cr249-01 JM

                                                     ADDIDONAL VIOLATIONS

                                                                                                                   Violation
Violation Number              Nature of Violation                                                                  Concluded
Standard (2)                   Failure to report to probation officer and submit truthful written report          07/01/2014
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 AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

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 DEFENDANT: SHARON ALEXANDER
 CASE NUMBER: 4:04cr249-01 JM


                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
ELEVEN (11) MONTHS




    D The court makes the following recommendations to the Bureau of Prisons:




    ';/ The defendant is remanded to the custody of the United States Marshal.

    D   The defendant shall surrender to the United States Marshal for this district:
        D       at    --------- D                         a.m.      D     p.m.    on
           D    as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D    before 2 p.m. on
           D    as notified by the United States Marshal.
           D    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                         to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                 By -~~~~~~~~~~~------=---~~~--
                                                                                         DEPUTY UNITED STATES MARSHAL
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  AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

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 DEFENDANT: SHARON ALEXANDER
 CASE NUMBER: 4:04cr249-01 JM
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
TWO (2) YEARS



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment anCI at least two periodic drug
 tests thereafter as determined by the court.
 ti The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 ti The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 'if The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.                                                                              .

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted penmssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confinn the defendant's compliance with such notification requirement.
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 AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3A - Supervised Release
                                                                                         Judgment-Page   _5_ of _ _7.___
 DEFENDANT: SHARON ALEXANDER
 CASE NUMBER: 4:04cr249-01 JM

                                         ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited
to, loans, lines of credit, and tax returns. This also includes records of any business with which defendant is associated.
No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties
have been satisfied.
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  AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 5 - Criminal Monetary Penalties

                                                                                                         Judgment -   Page     6      of      7
  DEFENDANT: SHARON ALEXANDER
  CASE NUMBER: 4:04cr249-01 JM
                               CRIMINAL MONETARY PENALTIES

       The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                                             Fine                             Restitution
  TOTALS         $ 0.00                                                     $ 0.00                           $ 178,363.52


  D    The determination of restitution is deferred until
       entered after such determination.
                                                               - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
  "i/ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
       be paid before the United States is paid.

  Name of Payee                                       Total Loss*                       Restitution Ordered                  Priority or Percentage
(The payees are the same as listed                                                              $178,363.52

in the original Judgment filed on

6/24/2009, document# 504)




  TOTALS                                                                          $                 178,363.52


  D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

  D    The defendant must pay interest on restitution or a fine more than $2~500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the jud~ent, pursuant to 18 U.S.C. § .;612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       "i/ the interest requirement is waived for the             D fine         rtl restitution.
        D   the interest requirement for the         D     fine         D restitution is modified as follows:


  *Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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AO 2450     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments

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                                                                                                       Judgment - Page _ _             7
DEFENDANT: SHARON ALEXANDER
CASE NUMBER: 4:04cr249-01 JM

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    D Lump sum payment of$                                            due immediately, balance due

           D not later than                                               , or
           D in accordance with D C,                 D     D,     D E,or         D F below); or
B    D Payment to begin immediately (may be combined with                        D C,      D D, or    D F below); or
C    D     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
          - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    ~ Special instructions regarding the payment of criminal monetary penalties:

       During incarceration, the defendant will pay 50 percent per month of all funds that are available to her. During
       community confinement placement, payments will be reduced to 10 percent of the defendant's gross monthly
       income. Beginning the first month of supervised release, payments will be 1O percent per month of the
       defendant's monthly gross income.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary renfilties lS due during the period of imprisonment. Afl criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
